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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 DYNAENERGETICS EUROPE GMBH, §
 and DYNAENERGETICS US, INC., §
                              §
              Plaintiffs,     §
                                                   Civil Action No. 3:21-cv-00192-M
                              §
 v.                           §
                                                       Jury Trial Requested
                              §
 SWM INTERNATIONAL, LLC,      §
                              §
              Defendant.      §


               ORDER GRANTING DEFENDANT’S MOTION TO STAY

       Before the Court is Defendant SWM International, LLC’s motion to stay pending entry of

a final judgment in SWM’s declaratory judgment action in the District of Colorado. Having

considered the briefing, the Court finds that it should be and is hereby GRANTED.

       It is therefore ORDERED that this case is STAYED pending entry of a final judgment in

SWM’s declaratory judgment action.

       SIGNED this           day of                       2021.




                                                 THE HONORABLE BARBARA M.G. LYNN
                                                 U.S. DISTRICT COURT CHIEF JUDGE
